
62 So.3d 1167 (2011)
STATE of Florida, Appellant,
v.
Richard A. BRYANT, Appellee.
No. 4D10-957.
District Court of Appeal of Florida, Fourth District.
June 1, 2011.
*1168 Pamela Jo Bondi, Attorney General, Tallahassee, and Myra J. Fried, Assistant Attorney General, West Palm Beach, for appellant.
Carey Haughwout, Public Defender, and Paul E. Petillo, Assistant Public Defender, West Palm Beach, for appellee.
PER CURIAM.
Affirmed. See State v. Sun, ___ So.3d ___, 2011 WL 2135646 (Fla. 4th DCA 2011).
GROSS, C.J., HAZOURI and CIKLIN, JJ., concur.
